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C-13-15(ECF)
(Rev. 3/04)
                                     UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF NORTH CAROLINA

In Re: Tonya Gail McCrae                                                )                        MOTION
                                                                        )                       CHAPTER 13
                                                                        )
                                                                        )                  No: B 12-81181 C-13D
                  Debtor                                                )


The undersigned Standing Trustee respectfully moves the Court for a hearing on the following:

The Debtor has failed to make the full scheduled payments in the plan since filing. The Standing Trustee’s
Office has contacted the Debtor regarding the delinquent, and the Debtor has not responded.

The Standing Trustee respectfully recommends to the Court that this case be dismissed prior to confirmation for
nonpayment.




Date: November 14, 2012                                                 s/Richard M. Hutson, II
RMH:ltp                                                                 Standing Trustee
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                      NOTICE TO INTERESTED PARTIES OF HEARING ON MOTION

You are notified that the foregoing matter will be heard before this Court at the Courtroom, Venable Center,
Dibrell Building, Suite C280, 302 East Pettigrew Street, Durham, NC, on December 27, 2012, at 12:00 p.m.; at
which time you may appear and offer your evidence. If you fail to appear, the motion may be taken as true and
an Order entered accordingly.

Date: November 14, 2012                                                 OFFICE OF THE CLERK
                                                                        U.S. Bankruptcy Court
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                                    PARTIES TO BE SERVED
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